  Case 18-15803      Doc 49    Filed 12/19/18 Entered 12/20/18 08:04:07             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:      18-15803
DAVID MATTHEW LEWERENTZ and                 )
JOSHUA MICAH MAZZERI                        )               Chapter: 7
                                            )
                                                            Honorable Timothy Barnes
                                            )
                                            )
               Debtor(s)                    )

           ORDER AUTHORIZING TRUSTEE TO EMPLOY SPECIAL COUNSEL

         This case coming to be heard on Trustee's Application to Employ Special Counsel
(“Application”), seeking to employ Vincent J. Arrigo and Romanucci & Blandin, LLC, Adam Berger,
and Molzahn, Reed and Rouse (collectively referred to as “Special Counsel”) as special counsel for this
estate; the Declaration of Proposed Attorney for Trustee for Vincent J. Arrigo (“Declaration”) having
been filed in support of the Application; this Court having considered the Application and the
Declaration, and being fully advised in the premises of same; due notice having been given;
IT IS HEREBY ORDERED THAT:
        The Trustee is authorized to employ Vincent J. Arrigo and Romanucci & Blandin, LLC, Adam
Berger and Molzahn, Reed and Rouse as special counsel in this case.




                                                         Enter:


                                                                  Timothy A. Barnes
Dated: December 19, 2018                                          United States Bankruptcy Judge

 Prepared by:
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